      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 1 of 7




 1   Randall T. Skaar (Pro Hac Vice)
 2   601 Carlson Parkway, Suite 1050
     Minneapolis, MN 55305
 3   Phone: (612) 216-1700
 4   Fax: (612) 234-4465
     skaar@sumiplaw.com
 5   For Safegate
 6                           UNITED STATES DISTRICT COURT

 7                                   DISTRICT OF ARIZONA

 8
     SAFEGATE AIRPORT SYSTEMS, Inc. a                       No. 2:13-cv-00567-PHX-GMS
 9
     Minnesota Corporation; and SAFEGATE
10   INTERNATIONAL AB, a Corporation
     of Sweden,
11
          Plaintiffs/Counterdefendants,
12                                                       SAFEGATE’S OPPOSITION
     v.
13                                                    CLAIM CONSTRUCTION BRIEF
14   RLG DOCKING SYSTEMS Inc., an
15   Arizona Corporation; and Robert L.
     GAUGENMAIER, individually,
16
17
          Defendants/Counterclaimants.
18
19                                        MEMORANDUM
20
             RLG and Gaugenmaier (“RLG”) propose claim constructions that are solely
21
22   manufactured to attempt to avoid infringement, while grossly violating the well-

23   established legal principals of claim construction. RLG randomly and improperly
24
     imports elements from preferred and working embodiments of the invention from the
25
26   specification into the claims to improperly narrow the claim scope.

27
28
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 2 of 7




 1      I.        Means-Plus-Function Limitations
 2
             RLG misapplies 35 U.S.C. § 112 ¶ 6.1 An example of RLG’s misleading means-
 3
 4   plus-function claim construction is their proposed construction of “means for projecting”

 5   from claim 14 of the ‘665 patent and “projecting means” from claim 1 of the ‘665 patent.
 6
     RLG does not dispute that the projecting means is a mirror that reflects laser light pulses.
 7
     However RLG’s proposed claim construction is to require two mirrors and two stepper
 8
 9   motors, one for each mirror, to enable scanning. (docket #71, pg. 10). RLG has
10   improperly imported the function of scanning into the claim, when the claim does not
11
     recite a scanning function. Only a “projecting” function is claimed. RLG then imports
12
13   the alleged structure corresponding to the imported function: the second mirror and two

14   stepper motors. The law does not permit RLG’s misapplication of 35 U.S.C. 112 ¶ 6:
15
                   The statute does not permit limitation of a means-plus-function
16                 claim by adopting a function different from that explicitly recited
17                 in the claim. Nor does the statute permit incorporation of structure
                   from the written description beyond that necessary to perform the
18                 claimed function. See id.2 In this case, the district court erred both
                   by incorporating structure beyond that necessary to perform the
19
                   claimed functions and by incorporating unrecited functional
20                 limitations into the claims. Micro Chemical v. Great Plains
                   Chemical, 194 F.3d 1250, 1258 (Fed. Cir., 1999).
21
22           The law is also clear that importing elements from a working or preferred
23   embodiment disclosed in the patent specification is not proper. No doubt RLG will argue
24
     that one cannot “project” without scanning, as that is what the patent teaches, i.e. that is
25
26
27           1
                 Now 35 U.S.C. § 112(f)
28           2
              Rodime PLC v. Seagate Tech., Inc., 174 F.3d 1294 1302, 50 USPQ2d 1429, 1435 (Fed.
     Cir. 1999).

                                                      2
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 3 of 7




 1   how the working device in the ‘665 patent operates. Such an argument has no place in
 2
     claim construction:
 3
 4              In so construing the claims, the district court erred by importing the
                functions of a working device into these specific claims, rather than
 5              reading the claims for their meaning independent of any working
                embodiment. See Transmatic, Inc. v. Gulton Indus., Inc., 53 F.3d
 6
                1270 1278, 35 USPQ2d 1035, 1041 (Fed.Cir.1995) ("[T]he district
 7              court erred by importing unnecessary functional limitations into the
                claim."); Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560
 8
                1571, 7 USPQ2d 1057, 1064 (Fed.Cir.1988) ("Although the
 9              specification may aid the court in interpreting the meaning of
                disputed language in the claims, particular embodiments and
10              examples appearing in the specification will not generally be read
11              into the claims."). A claim need not claim every function of a
                working device. Rather, a claim may specify improvements in one
12              function without claiming the entire machine with its many
13              functions. Rodime PLC v. Seagate Technology, Inc., 174 F.3d
                1294, 1303 (C.A.Fed. (Cal.), 1999).
14
15          It is rare, if ever, that a claim recites each and every structure and function of the

16   preferred embodiment. It is perfectly proper for an inventor to claim the invention more
17
     broadly than was disclosed in the preferred embodiments.
18
                If everything in the specification were required to be read into the
19
                claims, or if structural claims were to be limited to devices
20              operated precisely as a specification-described embodiment is
                operated, there would be no need for claims. Nor could an
21
                applicant, regardless of the prior art, claim more broadly than that
22              embodiment. Nor would a basis remain for the statutory necessity
                that an applicant conclude his specification with "claims
23              particularly pointing out and distinctly claiming the subject matter
24              which the applicant regards as his invention." 35 U.S.C. Sec. 112.
                It is the claims that measure the invention. SRI Intern. v.
25              Matsushita Elec. Corp. of America, 775 F.2d 1107, 1121(C.A.Fed.
26              1985).

27          RLG also attempts to justify improperly importing particular and unclaimed
28
     limitations into the claims by arguing that “A claim construction that excludes a preferred


                                                   3
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 4 of 7




 1   embodiment ... ‘is rarely, if ever, correct.’ SanDisk Corp. v. Memorex Prods., Inc., 415
 2
     F.3d 1278, 1285 (Fed.Cir.2005).” RLG employs the SanDisk language to argue that it is
 3
 4   proper to read unclaimed limitations from a working embodiment into claim language,

 5   regardless of the narrowing effect on claim scope. Not only does RLG’s position
 6
     contradict the holdings in SRI, Rodime PLC and Micro Chemical above, but it
 7
     mischaracterizes the holding in SanDisk as well.
 8
 9          In SanDisk, SanDisk owned the patent and was asserting it against alleged
10   infringer Memorex, and others. The patent taught how computer memory data could be
11
     stored and erased more efficiently than in the prior art. The district court found that
12
13   Memorex and the others did not infringe the asserted claims of the SanDisk patent. The

14   Court of Appeals for the Federal Circuit reversed, finding the district court construed the
15
     claims too narrowly by reading limitations into the claims that were not required by the
16
17   plan language of the patent claims. Id. at 1284. So narrowly, in fact, that the claim

18   construction eliminated certain specific examples of the invention given in the
19
     specification. Such is not the case here, as the ‘665 patent does disclose the use of a
20
     mirror for reflecting, or projecting, laser light. Safegate’s construction does not exclude
21
22   any of its embodiments. RLG uses the quote from SanDisk out of context to argue for
23   importing unclaimed structure from a working embodiment. This is a misapplication of
24
     SanDisk and the general body of claim construction law.
25
26          Similarly, RLG misconstrues the “means for detecting” of claim 14 of the ‘665

27   patent and the “comparing means” and “identifying means” from claim 1 of the ‘489
28
     patent, using the same flawed approach. As for the detecting and comparing means, there


                                                   4
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 5 of 7




 1   is no claim language limiting the claims to the use of an angular step of 0.1 degree, and to
 2
     import such a limitation is error. So too is the requirement that Table I from the patent
 3
 4   specification must be generated. Table I from the patent is exemplary and filled

 5   primarily with “XXs”. Such a requirement is nonsensical.
 6
              Regarding the “identifying means”, RLG improperly imports the calculation used
 7
     in a specific example in the patent to identify the engine of an approaching aircraft (‘489
 8
 9   patent, figures 12 – 14). RLG simply ignores the fact that other examples in the patent
10   include using the main gear, the position of the wings and the position of the tail are other
11
     disclosed criteria, not just an engine (‘489 patent, Column 2, lines 50-60). To so limit the
12
13   claim would violate the holding in SanDisk, by improperly narrowing the claim to

14   preclude examples in the specification.
15
        II.      Tables
16
17            RLG improperly treats the claim construction of “comparison table”, “profile

18   table” and “distance distribution table” from claim 14 of the ‘665 patent. These are not
19
     means-plus-function claim elements, or steps from a method claim. These are ordinary
20
     words that need to be construed under the patent laws. The patent clearly defines each of
21
22   these tables as data. For the distance and comparison tables, RLG’s insistence that the
23   structures in the patents of Tables I and II be filled with data gathered at angular steps of
24
     0.1 degrees is simply improper importation of limitations from a working embodiment in
25
26   the specification.

27            RLG’s construction for “distance distribution table” as: “a derivative data
28
     collection structure as defined in 665 Patent” is not even clear so as to be helpful to the


                                                    5
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 6 of 7




 1   fact finder. If RLG means it is data, or a collection of data, Safegate would not disagree.
 2
     It is also unclear what is meant by “as defined in the 665 patent”.
 3
 4      III.   Claim 11 of the ‘489 patent

 5          RLG improperly treats method claim 14 of the ‘489 patent as if it were written in
 6
     means-plus-function format. It is clearly not. The term “means” appears nowhere in the
 7
     claim. Further, having a means-plus-function claim element, which is structural in
 8
 9   nature, in a method claim is not likely authorized under 35 U.S.C. § 101. The fact that
10   the claim uses similar terminology, absent the means language, as Claim 1, does subject
11
     claim 14 to the requirements of 35 U.S.C. 112 ¶ 6.
12
13              Furthermore, method claims that "parallel," or have limitations
                similar to, apparatus claims admittedly subject to § 112, paragraph
14              6 are not necessarily subject to the requirements of § 112,
15              paragraph 6. Epcon Gas Systems, Inc. v. Bauer Compressors, Inc.,
                279 F.3d 1022, 1028 (Fed. Cir., 2002).
16
17          RLG has not argued that claim 11 is in step-plus-function format. Such a theory is

18   inconsistent with RLG’s claim construction at any rate. RLG argues for the importation
19
     of structure, not steps. Since multiple acts are recited in claim 11, step-plus-function is
20
     cannot be deemed employed at any rate 3
21
22
23
24              3
                 Where the claim drafter has not signaled his intent to invoke §
25              112, paragraph 6 by using the "step[s] for" language, we are
26              unwilling to resort to that provision to constrain the scope of
                coverage of a claim limitation without a showing that the limitation
27              contains nothing that can be construed as an act. Masco Corp. v.
                U.S., 303 F.3d 1316, 1327 (Fed. Cir., 2002).
28



                                                   6
      Case 2:13-cv-00567-GMS Document 72 Filed 03/10/14 Page 7 of 7




 1   Respectfully submitted,
 2
     Skaar Ulbrich Macari, P.A
 3
 4   DATE: March 10, 2014

 5          By: /s/ Randall T. Skaar
            Randall T. Skaar (Pro Hac Vice)
 6
            601 Carlson Parkway, Suite 1050
 7          Minneapolis, MN 55305
            Phone: (612) 216-1700
 8
            Fax: (612) 234-4465
 9          skaar@sumiplaw.com
10          Scott G. Ulbrich (No. 027906)
11          11811 N. Tatum Blvd, Suite 3031
            Phoenix, AZ 85028
12          Tel: (602) 953-7800
13          Fax: (602) 513-7356
            ulbrich@sumiplaw.com
14
            Attorneys for Safegate
15
16
17                               CERTIFICATE OF SERVICE
18
            I hereby certify that on March 10, 2014, I electronically transmitted the attached
19
     document to the Clerk’ s Office using the CM/ECF System for filing and transmittal of a
20
     SAFEGATE’S OPPOSITION CLAIM CONSTRUCTION BRIEF to the CM/ECF
21
     registrants.
22
23   s/ Randall T. Skaar
24
25
26
27
28



                                                  7
